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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                NORTHERN DIVISION


 CHAMBER OF COMMERCE OF THE
 UNITED STATES OF AMERICA
 1615 H Street NW
 Washington, DC 20062,

 INTERNET ASSOCIATION
 660 North Capitol Street NW, Suite 200
 Washington, DC 20001,

 NETCHOICE                                            Civ. No. 21-cv-410
 1401 K Street NW, Suite 502
 Washington, DC 20005,

 COMPUTER & COMMUNICATIONS                            COMPLAINT FOR INJUNCTIVE
 INDUSTRY ASSOCIATION                                 AND DECLARATORY RELIEF
 25 Massachusetts Avenue, Suite 300C
 Washington, DC 20001,
                               Plaintiffs,
 v.
 PETER FRANCHOT, in his official capacity as
 Comptroller of the Treasury of Maryland,
 301 West Preston Street, Room 206
 Baltimore, MD 21201,
                               Defendant.


       Plaintiffs the Chamber of Commerce of the United States of America, Internet Association,

NetChoice, and the Computer & Communications Industry Association (collectively, Plaintiffs),

for their complaint against Peter Franchot, in his official capacity as the Comptroller of the

Treasury of Maryland, allege by and through their attorneys as follows:

                                       INTRODUCTION

       1.       This lawsuit seeks a declaration and injunction against enforcement of Maryland

House Bill 732 (the Act) insofar as it imposes a “Digital Advertising Gross Revenues Tax” on



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sellers of digital advertising services. The Act is a punitive assault on digital, but not print,

advertising. It is illegal in myriad ways and should be declared unlawful and enjoined.

       2.       The background leading to the Act’s passage is undeniable: Maryland lawmakers

disapprove of large digital advertising companies and intended to penalize them. A centerpiece of

the Act’s legislative history is an article, authored by a witness testifying in support of the Act,

which accuses large digital advertising companies of “erod[ing]” the “shared values and norms”

of American society. See Paul Romer, A Tax That Could Fix Big Tech, New York Times (May 6,

2019), perma.cc/MZ83-NF5Y; see also Testimony from Paul Romer to Budget & Taxation

Committee (Jan. 29, 2020), perma.cc/EZ4M-ZEGY. Maryland lawmakers acted on the belief that

large digital advertising companies are “too big to trust” and have created “a haven for dangerous

misinformation and hate speech.” Romer, A Tax That Could Fix Big Tech. In the run-up to the

Act’s passage, that theme was repeated over and over again by the Act’s most outspoken

proponents, including Senate President Bill Ferguson, who proclaimed—ironically, over

Facebook—that, with the Act, Maryland lawmakers had deliberately “targeted” companies “like

Amazon, Facebook, and Google.” See perma.cc/699U-4BQB.

       3.       The premise of the law is deeply flawed. Taxing digital advertising revenue will

have the opposite of the Act’s intended effect, reducing resources to support the creation and

availability of high-quality ad-supported content, leaving the online field overrun by low-quality

“junk” content. Meanwhile, the Act will raise costs for consumers and make it more difficult for

businesses to connect with potential customers. Simply put, the Act will harm Marylanders and

small businesses and reduce the overall quality of internet content—all while doing nothing to

stave off the dissemination of misinformation and hate speech.

       4.       Recognizing the Act’s many infirmities, Governor Hogan vetoed the Act on May

7, 2020, calling it “misguided” and “unconscionable.” See Letter from Governor Lawrence J.

Hogan, Jr. to Senator Bill Ferguson and Representative Adrienne A. Jones (May 7, 2020),



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perma.cc/HC8L-FTAY. But on February 12, 2021, the General Assembly voted to override

Governor Hogan’s veto.

       5.       Although the Act is styled as a tax, several features confirm its punitive character,

including its severity (up to 10% of gross revenues), its focus on extraterritorial conduct, the

segregation of its proceeds from the State’s general fund, and the legislative history leading to its

enactment. Among other things, the legislative history shows that lawmakers believe that the

charge cannot be passed to consumers, and that the targets of the law, and they alone, will bear the

burden of the assessment. A pass-through prohibition recently introduced in the Maryland Senate

would lock in that understanding; if adopted into law, it would expressly prohibit the targets of the

charge from passing it on to advertisers as a line item.

       6.       The Act is unlawful in several ways. First, it is preempted by the Internet Tax

Freedom Act (ITFA), which prohibits States from imposing “multiple and discriminatory taxes on

electronic commerce.” 47 U.S.C. § 151 note. Second, the Act violates the Due Process Clause and

Commerce Clause of the United States Constitution by burdening and penalizing purely out-of-

state conduct and interfering with foreign affairs.

       7.       The State is well aware of these defects. In a February 25, 2020 letter, the Office of

the Attorney General of Maryland itself concluded that an earlier-introduced version of the Act

“would likely be preempted by the ITFA” and requires revisions to avoid invalidation under the

federal Commerce Clause. See Letter from Sandra Benson Brantley to Delegate Alonzo T.

Washington (Feb. 25, 2020), perma.cc/9SNH-S3FU; see also Letter from Brian E. Frosh to

Governor Lawrence J. Hogan, Jr. (April 22, 2020), perma.cc/Y8RD-KVDJ. The necessary

revisions were never made.

       8.       Plaintiffs accordingly seek a declaration that the Act is unlawful and an injunction

against its enforcement.




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                                 JURISDICTION AND VENUE

       9.       Plaintiffs bring this suit under 42 U.S.C. § 1983 and 28 U.S.C. § 2201 asserting

violations of federal rights and seeking declaratory and injunctive relief. The Court’s jurisdiction

is invoked under 28 U.S.C. §§ 1331 and 2201.

       10.      The Court is not deprived of jurisdiction by the Tax Injunction Act (TIA) because,

for TIA purposes, the Act imposes a punitive fee rather than a tax. See infra ¶¶ 34-47, 51.

       11.      This Court has personal jurisdiction over Defendant Peter Franchot because he

resides within the District of Maryland and performs his official duties there.

       12.      Venue is proper in this District because Franchot resides in the District and a

substantial part of the events giving rise to the claims here occurred in the District.

                                THE PARTIES AND STANDING

       13.      Plaintiff Chamber of Commerce of the United States of America (the Chamber) is

the world’s largest business federation. It represents approximately 300,000 members and

indirectly represents the interests of more than 3 million companies and professional organizations

of every size, in every industry sector, and from every region of the country. Among other things,

the Chamber works with the federal, state, and foreign governments to achieve a multilateral con-

sensus on the taxation of the digital economy. The Chamber is a 501(c)(6) nonprofit organization

headquartered in Washington, D.C. The Act is at odds with the Chamber’s policy objectives, and

challenging the Act is germane to the Chamber’s mission.

       14.      Many of the Chamber’s members will be liable to pay the charge imposed by the

Act. The Act will therefore harm the Chamber’s members by making them liable for the charge,

interfering with their business models, and making it more difficult for them to provide high quality

services to their clients and customers.

       15.      Plaintiff Internet Association (IA) is the only trade association that exclusively rep-

resents leading global internet companies on matters of public policy. IA’s mission is to foster



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innovation, promote economic growth, and empower people through the free and open internet.

Its stated position is that state governments should not adopt taxation measures that discriminate

against digital services and are not technologically neutral. IA is a 501(c)(6) nonprofit organization

headquartered in Washington, D.C. The Act is at odds with IA’s policy objectives for technology

companies, and challenging the Act is germane to IA’s mission.

       16.     A list of IA’s members is available at https://internetassociation.org/our-members/.

Many of IA’s members will be liable to pay the charge imposed by the Act. The Act will therefore

harm IA’s members by making them liable for the charge, interfering with their business models,

and making it more difficult for them to provide high quality services to their clients and

customers.

       17.     Plaintiff NetChoice works to make the internet safe for free enterprise and free

expression. It engages at the local, state, national, and international levels to protect the interests

of the internet and ensure a bright digital future. NetChoice opposes taxes that discriminate against

e-commerce, which threaten the internet’s benefits to consumers and small sellers online.

NetChoice is a 501(c)(6) nonprofit organization headquartered in Washington, D.C. The Act is at

odds with NetChoice’s policy objectives, and challenging the Act is germane to NetChoice’s

mission.

       18.     A list of NetChoice’s members is available at https://netchoice.org/. Many of

NetChoice’s members will be liable to pay the charge imposed by the Act. The Act will therefore

harm NetChoice’s members by making them liable for the charge, interfering with their business

models, and making it more difficult for them to provide high quality services to their clients and

customers.

       19.     Plaintiff the Computer & Communications Industry Association (CCIA) is a not-

for-profit membership organization for a wide range of companies in the computer, internet,

information technology, and telecommunications industries. Created over four decades ago, CCIA



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promotes open markets, open systems, open networks, and full, fair, and open competition. CCIA

represents the interests of the world’s leading providers of technology products and services before

governments and the courts. It opposes discriminatory taxes. The Act is at odds with CCIA’s policy

objectives, and challenging the Act is germane to CCIA’s mission.

       20.     A list of CCIA’s members is available at https://www.ccianet.org/about/members/.

Many of CCIA’s members will be liable to pay the charge imposed by the Act. The Act will

therefore harm CCIA’s members by making them liable for the charge, interfering with their

business models, and making it more difficult for them to provide high quality services to their

clients and customers.

       21.     Defendant Franchot is the Comptroller of the Treasury of Maryland. He is

responsible for administering the Maryland digital advertising charge.

       22.     Franchot is a resident of Maryland and is sued in his official capacity only.

       23.     In enforcing, administering, and adhering to the Act, Franchot and those subject to

his supervision, direction, or control will at all relevant times act under color of state law.

                                   FACTUAL ALLEGATIONS

       A.      The Act and its historical context

       24.     The Act imposes a one-of-a-kind charge on the annual gross revenue of digital

advertising services provided in Maryland. The charge applies only to digital advertising and does

not apply to advertising of any kind through other means.

       25.     Section 101(d) of Title 7.5 of the Maryland Tax Article, as amended by the Act,

defines “digital advertising services” as “advertisement services on a digital interface, including

advertisements in the form of banner advertising, search engine advertising, interstitial advertising,

and other comparable advertising services.”




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        26.     Section 101(e) of Title 7.5 of the Maryland Tax Article, as amended by the Act,

defines “digital interface” as “any type of software, including a website, part of a website, or

application, that a user is able to access.”

        27.     Section 101(f) of Title 7.5 of the Maryland Tax Article, as amended by the Act,

defines “user” as “an individual or any other person who accesses a digital interface with a device.”

        28.     The Act “shall be applicable” to all taxable years after December 31, 2020. See Act

§ 6. Accordingly, the Act will be enforced as to all covered transactions taking place on January

1, 2021 and later. Each company that “reasonably expects . . . annual gross revenues derived from

digital advertising services in the state to exceed $1,000,000” in a given year must file “a

declaration of estimated tax, on or before April 15 of that year.” Md. Code, Tax-Gen. § 7.5-

102(b)(1).1

        29.     The Act charges tiered rates on the “annual gross revenues derived from digital

advertising services in the State.” Md. Code, Tax-Gen. § 7.5-102(b)(1).

        30.     Under Sections 13-1001 and 13-1002 of the Tax Article, as amended by the Act,

failure to file complete and accurate paperwork and pay the charge as required by the Act is a

criminal offense.

        31.     The Act sets tiered rates of assessment on annual gross revenues derived from

digital advertising services in the State, based solely on a firm’s global annual gross revenues:

                (a.)    For firms with global annual gross revenues of $100 million or more, the

                        Act imposes a 2.5% assessment rate on all assessable revenues.

                (b.)    For firms with global annual gross revenues of $1 billion or more, the Act

                        imposes a 5.0% assessment rate on all assessable revenues.



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    Pursuant to Section 17(d) of Article II of the Maryland state constitution, the Act “shall take
effect 30 days after the Governor’s veto is over-ridden,” on or around March 14, 2021, prior to the
April 15, 2021 deadline for initial declarations.


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              (c.)    For firms with global annual gross revenues of $5 billion or more, the Act

                      imposes a 7.5% assessment rate on all assessable revenues.

              (d.)    For firms with global annual gross revenues of $15 billion or more, the Act

                      imposes a 10% assessment rate on all assessable revenues.

       32.    The extent of a company’s liability under the Act for revenues earned in Maryland

depends in almost all cases on the company’s out-of-state conduct. For example, a company that

derives $10 million in annual revenues from digital advertising in Maryland will:

              (a.)    not be liable for any assessment under the Act if it earns less than $90

                      million in revenue outside of the State;

              (b.)    be liable for a $250,000 assessment if it earns between $90 million and $989

                      million in gross annual revenues outside of the State;

              (c.)    be liable for a $500,000 assessment if it earns between $990 million and

                      $4.989 billion in gross annual revenues outside of the State;

              (d.)    be liable for a $750,000 assessment if it earns between $4.99 billion and

                      $14.989 billion in gross annual revenues outside of the State;

              (e.)    be liable for a $1,000,000 assessment if it earns more than $14.99 billion in

                      gross annual revenues outside of the State.

       33.    The only differences among the scenarios described in the immediately prior

paragraph are the amounts of revenue earned outside of Maryland, and in direct consequence, the

size of the charge owed under the Act.

       B.     The Act does not impose a “tax” within the meaning of the TIA

       34.    The exaction assessed by the Act is a punitive fee, penalty, or fine, and not a “tax”

within the meaning of the Tax Injunction Act, 28 U.S.C. § 1341. Several features of the Act

confirm this conclusion, including its extraterritoriality, narrow applicability, and assessment

against gross revenue rather than net income.



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        35.     The Act targets a small number of large companies, specifically including, accord-

ing to Maryland lawmakers, “Amazon, Facebook, and Google.” See perma.cc/699U-4BQB.

        36.     The rate of assessment under the Act is a massive share of each digital advertiser’s

gross—not net—receipts, which is a highly unusual and extraordinarily severe form of exaction.

For most impacted companies, it will impose liability nearly 20 times greater than Maryland’s

standard corporate income tax, wiping out most digital advertisers’ entire profits on services

provided in Maryland. See infra, ¶¶ 53-55.

        37.     The Act imposes progressively greater penalties on companies based on their extra-

territorial conduct—the more significant a company’s participation in extraterritorial markets for

digital advertising, the greater the rate of assessment on revenue derived from digital advertising

in Maryland. There is no explanation for this design except a legislative purpose to punish large,

out-of-state digital advertising companies for their extraterritorial activities.

        38.     The Act establishes a new tax that applies retroactively to the beginning of the

calendar year. As the U.S. Trade Representative noted with respect to France’s similar tax, entirely

new retroactive taxes are “disfavored” under “basic concepts of fairness.” Office of the U.S. Trade

Representative, Report on France’s Digital Services Tax Prepared in the Investigation under

Section 301 of the Trade Act of 1974, at 50 (Dec. 2, 2019) (“USTR Report”), perma.cc/XD9H-

ZQ44.

        39.     The legislative history indicates a punitive purpose. In the months leading up to the

enactment of the Act, an op-ed appeared in the New York Times accusing Google and Facebook of

“mak[ing] their profits using business models that erode” the “shared values and norms on which

democracy depends.” Paul Romer, A Tax That Could Fix Big Tech, New York Times (May 6,

2019), perma.cc/MZ83-NF5Y. The op-ed described large digital advertising companies as “too

big to trust” and creating “a haven for dangerous misinformation and hate speech.” Id. The op-ed

called for States like Maryland to impose a “charge” or “penalty” on digital advertisers’ business



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models, almost exactly in the form of the Act. Id. The Senate sponsors of the Act presented the

op-ed’s author, Professor Paul Romer, as a witness in support of the Act and included his op-ed in

the legislative history. See Testimony from Paul Romer to Budget & Taxation Committee (Jan.

29, 2020), perma.cc/EZ4M-ZEGY.

       40.     Professor Romer’s testimony at the Senate hearing echoed his op-ed. He stated his

opinion that “the market for digital services is broken and that a tax on digital advertising can help

restore the conditions needed for the market to work.” In his view, “the pervasive dishonesty of

the people who have made hundreds of billions from targeting and tracking is the final proof that

something is terribly wrong with the market for digital services.” See Testimony from Paul Romer

to Budget & Taxation Committee.2

       41.     Senate President Ferguson, a sponsor of the Senate companion bill, explained that

the growth of “[m]assive technology corporations . . . has resulted in negative externalities

socialized and borne by the public. . . . [E]xternalities created by private actors’ actions must be

borne by that actor.” See perma.cc/N975-TAXK, at 7. And he explained where the law came from:

The “solution” that the Act implements “is based off a model originally built by Paul Romer . . .

to levy a progressive tax on the currently untaxed revenues of companies’ revenue from digital ad

revenue.” Id. Senator Ferguson then reiterated who should foot the bill—“large multinational

corporations with at least $100 million in annual digital ad revenues each year”—and who should

not—“Marylander[s].” Id. at 7-8.



2
    The opinions expressed in Romer’s op-ed are deeply flawed. First, Professor Romer does not
explain why burdening digital advertising will improve the quality of content online. In fact,
placing massive financial burdens on digital advertising will inhibit the primary funding source
for high-quality internet content and do nothing to discourage low-quality content. They also will
drive more quality content behind subscription-only paywalls, making it less accessible and
encouraging an unhealthy “echo chamber” effect. Second, the Act will indirectly harm a wide
range of other business and consumer interests, raising costs for consumers and making it harder
for businesses to connect with potential consumers. The Act’s design thus will not even accomplish
the goal it is supposed to; indeed, it will undermine that goal.


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       42.     Under Sections 2-4A-01 and 2-4A-02 of the Tax Article, as amended by the Act,

the proceeds of the Maryland digital advertising charge are used to pay for administration of the

Act and otherwise deposited in the “Blueprint for Maryland’s Future Fund.” Proceeds deposited

in the Blueprint for Maryland’s Future Fund are kept segregated from the Maryland general fund

and earmarked for specific educational purposes including, in part, to address through education

the perceived “externalities” created by the companies targeted by the Act.

       43.     The Act is akin to a fine for perceived misconduct or a legislatively-mandated

restitution payment as remediation for purported externalities.

       44.     Delegate Alonzo Washington, the Vice Chair of the Ways and Means Committee,

explained to lawmakers that “[a]s we all know, giant technology companies are increasingly

collecting and utilizing our personal data” and questioned whether the conduct of such companies

is “helping to build the future of democracy in our state.” See perma.cc/QMJ7-6LJG. He also told

lawmakers, “[i]t is clear that massive, multinational companies have made significant profits from

targeted advertising. This bill specifically targets companies who have digital ad revenues of at

least $100 million.” Id.

       45.     A proposed pass-through prohibition (Senate Bill 787), if adopted, would expressly

bar companies from “directly pass[ing] on the cost of the tax imposed.” Its mere introduction

confirms the fact that lawmakers want only the targets of the charge to pay.

       46.     Even independent of the proposed pass-through prohibition, lawmakers believe that

“it’s not likely that large tech companies would be able to pass through the Maryland tax costs.”

Danielle E. Gaines, Digital Ad Tax Debate Continues, Maryland Matters (Feb. 8, 2021),

perma.cc/QVY6-6V6L (“Debate Continues”). Senate President Ferguson introduced the express

pass-through prohibition merely for a “‘belt and suspenders’ approach” (id.), stressing during a

recent hearing that Senate Bill 787 is not “necessary” to prevent pass-through of the charge and

calling the bill a mere “clean-up” measure.



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       47.     In the months following the Governor’s veto, the Act’s sponsors have continued to

describe the Act as “target[ing] the largest tech companies—those with more than $100 million in

annual global revenues—who store and manipulate users’ personal data.” See Debate Continues.

The Act thus narrowly targets large internet advertising companies.

       C.      The word “tax” as it appears in ITFA and the TIA has different meanings

       48.     Although the charge imposed by the Act is not a “tax” for purposes of the TIA, it

does constitute a “tax” for purposes of ITFA preemption. In the context of two “different statutes”

serving different purposes like these, singular words appearing in both statutes may be given

“different shades of meaning and consequently may be variously construed.” Environmental

Defense v. Duke Energy Corp., 549 U.S. 561, 574 (2007). The meanings of words must “vary to

meet the purposes of the law, to be arrived at by a consideration of the language in which those

purposes are expressed, and of the circumstances under which the language was employed.” Yates

v. United States, 574 U.S. 528, 538 (2015); accord id. at 537 (“We have several times affirmed

that identical language may convey varying content when used in different statutes.”).

       49.     The TIA was enacted by the 75th Congress in 1937 (see Act of Aug. 21, 1937, ch.

726, 50 Stat. 738) and was modeled on the Anti-Injunction Act (AIA), which was enacted by the

39th Congress in 1867 (see Revenue Act of 1867, ch. 169, § 10, 14 Stat. 471, 475-476). ITFA,

meanwhile, was enacted by the 105th Congress in 1999. The TIA was enacted for federalism

purposes, while ITFA was enacted for federal purposes—to prevent discriminatory state taxes that

would harm the development of electronic commerce. What the 75th and 39th Congresses would

have meant by the word “tax” in the TIA and AIA differs from the meaning ascribed to the word

by the 105th Congress in ITFA, which serves a different purpose.

       50.     This is made clear by the express definition that the 105th Congress gave to the

word “tax” in ITFA. According to that definition, a “tax” within the meaning of ITFA includes

any “charge imposed by any governmental entity for the purpose of generating revenues for



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governmental purposes” other than use fees, i.e., “fee[s] imposed for a specific privilege, service,

or benefit conferred.” 47 U.S.C. § 151 note § 1105(8)(A)(i). Thus, any governmental “charge” that

is not a use fee is a “tax” within the meaning of ITFA.

       51.     ITFA’s definition of a prohibited “tax” is substantially broader than courts’

interpretation of the word “tax” under the TIA. Courts have recognized, for example, that govern-

ment charges that have “regulatory or punitive purposes” are not “taxes” within the meaning of

the TIA. Retail Indus. Leaders Ass’n v. Fielder, 475 F.3d 180, 189 (4th Cir. 2007) (quoting Valero

Terrestrial Corp. v. Caffrey, 205 F.3d 130, 134 (4th Cir. 2000)). In the same vein, courts have

recognized that charges collected “to defray the expense” of externalities are not “taxes” for TIA

purposes. San Juan Cellular Tel. Co. v. Pub. Serv. Comm’n of Puerto Rico, 967 F.2d 683, 685 (1st

Cir. 1992) (Breyer, J.) (quoting Head Money Cases, 112 U.S. 580, 590 (1884)).

       52.     Government charges can “serve more than one purpose.” Austin v. United States,

509 U.S. 602, 610 (1993). Generally speaking, “all charges raise revenue” and bear that purpose

in addition to others. Am. Council of Life Insurers v. D.C. Health Benefits Exch. Auth., 815 F.3d

17, 19 (D.C. Cir. 2016). Thus, even charges with regulatory or punitive purposes that would fall

outside the TIA may also have revenue-generating purposes that bring them within the broad

definition of “tax” included in ITFA.

       D.      The Act is extraordinarily burdensome

       53.     Corporate income taxes are traditionally assessed against net income on a flat-rate

basis. Maryland’s corporate income tax rate is a flat 8.25% assessed against net income. Thus, a

global company with $15 billion in revenue and $1 billion in profits, with 2% of its revenues and

profits apportioned to Maryland, would pay a corporate income tax of $1.65 million on $20 million

of Maryland-originated pre-tax profit.

       54.     The Maryland digital advertising charge applies in addition to Maryland’s standard

corporate income tax. If all of the revenues of the company described in the immediately prior



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paragraph were derived from digital advertising, the company would be liable for an additional

$30 million under the Act—10% of 2% of $15 billion. That is nearly 20 times the rate of the

corporate income tax. And it would more than wipe out the $20 million in profits attributable to

the company’s economic activity in Maryland.

       55.     Assessments against gross revenues apply even to unprofitable businesses.

       56.     It is widely recognized that “gross revenue” is not “a usual [or] appropriate basis

for taxation.” USTR Report at 55. Assessments against gross revenue rather than net income are

therefore highly unusual in American and international law.

       57.     They also create a cascading (or pyramiding) effect that embeds taxes within taxes,

through each stage of a production chain. For example, an advertising agency that brokers a

particular sale of digital advertising will be liable under the Act. So too will be the digital

advertising company whose services are brokered, meaning that the same digital advertising

service will be subjected to a double penalty of two consecutive gross-receipts charges under the

Act—each time at a rate that independently would often make earning a profit impossible.

       58.     Several European countries, including Great Britain, France, Hungary, Italy, Spain,

and Turkey, have proposed or implemented digital services charges (albeit at much lower rates)

targeted at American digital platforms.

       59.     The federal government has opposed these digital advertising charges as both

protectionist and a form of double taxation at odds with sound principles of taxation across

multiple jurisdictions. For example, federal authorities have objected to France’s digital advertis-

ing charge because it, like the Act, has high revenue thresholds that effectively exclude French

companies from the charge.

       60.     The U.S. Trade Representative recently concluded that the French law, which bears

close resemblance to the Act at issue here, was “highly unusual” as a tax, “unfair,” “unusually

burdensome,” extraterritorial in scope, and discriminatory—together justifying imposing retalia-



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tory tariffs. See USTR Report at 31, 49-50, 55, 65-67; id. at 1 (concluding that France’s Digital

Services Tax “discriminates against U.S. companies and is inconsistent with prevailing principles

of tax policy and unusually burdensome for affected U.S. companies”). It found in particular that

the French law reflects “a purpose of penalizing particular technology companies for their

commercial success.” Id. at 10 (citing Initiation of a Section 301 Investigation of France’s Digital

Services Tax, 84 Fed. Reg. 34,042, 34,043 (July 16, 2019)).

       E.      Nearly all relevant conduct takes place outside of Maryland

       61.     Nearly all online digital advertising services charge fees to advertising clients using

either the “pay per click” model (the client pays each time a user clicks on the ad) or the “cost per

thousand” model (the client pays for each 1,000 user impressions, regardless of clicks). Digital

advertising companies responsible for paying the charge imposed by the Act are sometimes unable

to determine where users are physically located when they click on or view an advertisement.

       62.     Many online advertisements are viewed on mobile devices. Many Maryland

residents commute on a daily basis to different jurisdictions, including Delaware, the District of

Columbia, Pennsylvania, Virginia, and West Virginia. And Maryland residents sometimes use

mobile devices to view advertisements while physically present in other jurisdictions.

       63.     Large online digital advertising companies operating internationally have global

gross annual revenues that meet the threshold for the Act’s highest assessment rate, as intended by

the General Assembly. The Act’s high revenue thresholds exclude Maryland companies from their

scope, and the highest rates apply exclusively to companies located outside Maryland.

       64.     The vast majority of the global gross annual revenues of large online digital

advertising companies are earned outside of Maryland.

       65.     Advertising agencies broker ad sales for online digital advertising platforms. On

information and belief, all Maryland-based companies that broker sales of digital advertising

services have global gross annual revenues of less than $100 million.



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        F.      Kinds of advertising affected by the Act

        66.     Many companies use websites to deliver digital advertising content to visitors.

        67.     Many websites that deliver advertisements are the digital equivalent of newspapers

or magazines. They provide space for ads to be shown and manage the advertisement inventory of

their advertising clients.

        68.     Online publishers include newspaper and magazine sites along with search engines,

social media websites, online shopping websites, streaming video websites, and more.

        69.     When a user submits a query on an online search engine, the search engine typically

returns several advertising results at the top of the results page. Search-engine marketing of this

kind allows advertisers to target a particular audience efficiently, based on factors like location

and user interests, as expressed in their search terms.

        70.     Other websites supplement their own content with third-party display ads. These

websites often hire display-ad networks to select and deliver the display ads. Display ads are

common on shopping websites and social media platforms, which deliver third-party advertise-

ments tailored to their users’ demographics and interest groupings.

        71.     Online digital advertising has dramatically lowered merchants’ cost of customer

acquisition over the past 20 years, increasing return on companies’ investments in advertising, and

reducing the volume of irrelevant advertisements that consumers see.

        72.     Online advertising is almost twice as efficient as traditional television advertising

in converting advertising spend into sales revenue. And it is particularly valuable for small

businesses that cannot afford expensive television, radio, or print ad campaigns. Digital advertising

allows those merchants to start small, focus on the most relevant audience, and expand a campaign

if it attracts new business.




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                                     CLAIMS FOR RELIEF

                                    COUNT I
                  VIOLATION OF THE INTERNET TAX FREEDOM ACT

       73.     Plaintiffs incorporate all prior paragraphs as though fully set forth herein.

       74.     The Act is unlawful under the Internet Tax Freedom Act, which prohibits States

from imposing “[m]ultiple or discriminatory taxes on electronic commerce.” 47 U.S.C. § 151 note.

The Act imposes a “tax” within the meaning of ITFA because it is a governmental charge with

revenue-generating purposes and is not a fee assessed for a specific privilege, service, or benefit

conferred. The Act’s charge is preempted because it is both a “discriminatory” tax and a “multiple”

tax under ITFA.

       75.     ITFA defines “discriminatory tax” (47 U.S.C. § 151 note § 1105(2)) as a state-

imposed charge on transactions in electronic commerce that (i) “is not generally imposed and

legally collectible by such State . . . on transactions involving similar property, goods, services, or

information accomplished through other means”; (ii) “is not generally imposed and legally

collectible at the same rate by such State . . . on transactions involving similar property, goods,

services, or information accomplished through other means”; or (iii) “imposes an obligation to

collect or pay the tax on a different person or entity than in the case of transactions involving

similar property, goods, services, or information accomplished through other means.”

       76.     The Act imposes a charge on digital advertising delivered over the internet without

applying a similar charge to non-digital advertising. Thus, the Act’s charge is unlawfully “dis-

criminatory” within the meaning of ITFA.

       77.     ITFA defines “multiple tax” (47 U.S.C. § 151 note § 1105(6)(A)) as “any tax that

is imposed by one State or political subdivision thereof on the same or essentially the same

electronic commerce that is also subject to another tax imposed by another State or political

subdivision thereof (whether or not at the same rate or on the same basis), without a credit (for

example, a resale exemption certificate) for taxes paid in other jurisdictions.”

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       78.       The Act imposes a charge on digital advertising for extraterritorial commerce that

is taxed by the States in which that commerce actually takes place, without a credit for those other

taxes. Thus, the Act’s charge is an unlawful “multiple” tax within the meaning of ITFA.

                                      COUNT II
                         VIOLATION OF THE COMMERCE CLAUSE

       79.       Plaintiffs incorporate all prior paragraphs as though fully set forth herein.

       80.       The negative or dormant Commerce Clause prohibits States from regulating or

burdening out-of-state commerce, penalizing extraterritorial conduct, or imposing charges that

have the purpose or effect of discriminating against interstate commerce.

       81.       The extent of a company’s liability under the Act for each dollar earned from digital

advertising in Maryland depends in almost all cases on the company’s extraterritorial conduct. By

imposing progressively greater liability on companies for the revenue they earn outside of

Maryland, the Act regulates, punishes, and burdens extraterritorial conduct and the earning of

revenues that are not fairly attributable to economic activity in Maryland.

       82.       The Act favors in-state companies, exceedingly few of which will be subject to the

charge imposed by the Act, even if they engage in the sale of some digital advertising. Liability

imposed by the Act will be borne almost entirely by out-of-state companies based on their out-of-

state conduct.

       83.       The effects of the Act on interstate commerce are more than incidental. The Act

will impose substantial costs on out-of-state and interstate transactions, in excess of all of a

company’s profits earned from digital advertising in Maryland. And the burdens on interstate

commerce inflicted by the Act are excessive in relation to any putative local benefit.

       84.       State laws are further unconstitutional under the Commerce Clause if they create a

substantial risk of conflicts with foreign governments or otherwise undermine the ability of the

federal government to speak with one voice with respect to foreign affairs.




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       85.       Maryland’s imposition of a digital advertising charge exacerbates a foreign policy

dispute with France and other European countries and makes it impossible for the federal

government to speak with one voice on a matter of foreign policy.

                                      COUNT III
                        VIOLATION OF THE DUE PROCESS CLAUSE

       86.       Plaintiffs incorporate all prior paragraphs as though fully set forth herein.

       87.       The Due Process Clause of the Fourteenth Amendment prohibits States from

punishing or regulating extraterritorial conduct or activities.

       88.       The extent of a company’s liability under the Act for each dollar earned from digital

advertising in Maryland depends in almost all cases on the company’s extraterritorial conduct.

       89.       By imposing progressively greater liability on companies for their extraterritorial

conduct, the Act punishes conduct and the earning of revenues outside of Maryland. Liability

imposed by the Act will be borne almost entirely by out-of-state companies based on their out-of-

state conduct.




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                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court:

       1.     declare the Act preempted and unconstitutional insofar as it imposes a “Digital
              Advertising Gross Revenues Tax”;

       2.     permanently enjoin Defendant and his agents, employees, and all persons acting
              under his direction or control from taking any action to enforce the Act insofar as
              it imposes a “Digital Advertising Gross Revenues Tax”;

       3.     grant such additional or other relief as it deems just and proper.

Dated: February 18, 2021                     Respectfully submitted,
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